                  Case: 18-13787        Doc: 21           Filed: 02/14/19   Page: 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF OKLAHOMA

In re:                                                )
                                                      )
WILMA JEANNE MORRIS,                                  )        Case No. 18-13787-JDL
                                                      )        Chapter 13
              Debtor.                                 )
                                                      )

                  DEBTOR’S NOTICE OF WITNESSES AND EXHIBITS
            FOR HEARING ON DEBTOR’S MOTION FOR DETERMINATION OF
             FEES, EXPENSES, OR CHARGES PURSUANT TO RULE 3002.1(E)

          Wilma Morris, debtor in the above-captioned case (“Debtor”), pursuant to Local

Bankruptcy Rule 9014-1, submits this Notice of Witnesses and Exhibits to provide (i) a brief

description of exhibits to potentially be offered, (ii) names of all witnesses to potentially be

called, and (iii) an estimated length of time for Debtor to present evidence and argument at the

Hearing on Debtor’s Motion for Determination of Fees [Doc. No. 18] to be heard on Tuesday,

March 12, 2019 at 9:45AM before The Honorable Chief Judge Janice Loyd, 215 Dean A. McGee

Ave, 2nd Floor Courtroom, Oklahoma City, OK 73102.

                                            Witnesses
              Debtor may call any one or more of the following witnesses at the Hearing.

No.                Witness Name                                            Proposed Testimony
1.  Matthew J. Hudspeth, OBA 14613                                Billing practices of Baer Timberlake,
                                                                  P.C.; Contents, methods, and time
                                                                  related to any Form 410S2 or Proof of
                                                                  Claim filed by Baer Timberlake, P.C.
                                                                  in the above captioned case.
2.       Jim Timberlake, OBA 14945                                Billing practices of Baer Timberlake,
                                                                  P.C.; Contents, methods, and time
                                                                  related to any Form 410S2 or Proof of
                                                                  Claim filed by Baer Timberlake, P.C.
                                                                  in the above captioned case.
3.       Rebuttal witnesses, if necessary                         N/A
4.       All witnesses listed by any other party in               N/A
         interest.




                                                          1
               Case: 18-13787         Doc: 21    Filed: 02/14/19      Page: 2 of 3




                                          Exhibits
            Debtor may use any one or more of the following exhibits at the Hearing.

No.                                           Description
1.  All pleadings filed in this case as of the time of the Hearing
2.  Rebuttal Exhibits
3.  All exhibits listed by any other party


                Estimated Length of Time to Present Evidence and Argument

       Debtor estimates that it will require up to 30 minutes to present evidence and argument at

the Hearing.

                                      Reservation of Rights

       The foregoing is being submitted based on information reasonably available to Debtor at

this time and without waiving any objection as to relevance, materiality, or admissibility of

evidence at the Hearing. Debtor reserves the right at any time to amend, revise, correct,

supplement, or clarify this Notice.

                                                 Respectfully Submitted,
                                                 SANSONE HOWELL PLLC

                                                 /s/ Jason A. Sansone_____________________
                                                 Jason A. Sansone, OBA No. 30913
                                                 Sansone Howell PLLC
                                                 4600 SE 29th St., Suite 500
                                                 Del City, Oklahoma 73115
                                                 Telephone: (405) 455-1032
                                                 Facsimile: (866) 679-1329
                                                 Email: JSansone@SansoneHowell.com
                                                 COUNSEL FOR DEBTOR
Dated: February 12, 2019




                                                 2
               Case: 18-13787       Doc: 21     Filed: 02/14/19     Page: 3 of 3




                CERTIFICATE OF MAILING / ELECTRONIC SERVICE

       I, Jason A. Sansone, hereby certify that on February 14, 2019, a true and correct copy of
the above was electronically served using the CM/ECF system to John Hardeman, Chapter 13
Trustee, the Office of the United States Trustee, and:

Quicken Loans, Inc.
c/o Baer Timberlake, P.C.
4200 Perimeter Center, Suite 100
Oklahoma City, OK 73112


                                                /s/ Jason A. Sansone
                                                Jason A. Sansone, OBA 30913




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